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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-00796-MEH

UNITED STATES OF AMERICA,

         Plaintiff,

v.

1. 121 ASH ROAD, BASALT, COLORADO,
2. APPROXIMATELY $77,888,782.61 HELD AND FROZEN IN MIRABAUD BANK
   ACCOUNT #509951,

      Defendants.
______________________________________________________________________

                       AMENDED SCHEDULING ORDER
______________________________________________________________________

             1. DATE OF CONFERENCE AND APPEARANCES OF COUNSEL

 Date of the Status Conference:        Monday, January 30, 2023 at 1:30 p.m.

 Appearances:

     Plaintiff United States:          Tonya S. Andrews
                                       Assistant United States Attorney
                                       Laura B. Hurd
                                       Assistant United States Attorney
                                       United States Attorney’s Office
                                       1801 California Street, Suite 1600
                                       Denver, CO 80202
                                       Phone: (303) 454-0100
                                       Email: Tonya.Andrews@usdoj.gov
                                       Laura.Hurd@usdoj.gov

     Claimant Henke Property LLC:      Clifford B. Stricklin
                                       King & Spalding LLP-Denver
                                       1401 Lawrence Street, Suite 1900
                                       Denver, CO 802020
                                       Phone: (720) 535-2327
                                       Email: cstricklin@kslaw.com




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 Claimant Edge Capital                      Branden D. Lewiston
 Investments Ltd.:                          Aegis Law Group LLP
                                            801 Pennsylvania Avenue NW
                                            Market Square West Suite 740
                                            Washington DC 20004
                                            Phone: (202) 737-3500
                                            Email: blewiston@aegislawgroup.com

                            2. STATEMENT OF JURISDICTION

       The United States asserts jurisdiction and venue in this case pursuant to 28 U.S.C. §§

1345 and 1355.

                      3. STATEMENT OF CLAIMS AND DEFENSES

a.     Plaintiff:

       The United States seeks forfeiture of defendant 121 Ash Road, Basalt, Colorado

(defendant 121 Ash Road) and defendant approximately $77,888,782.61 held and frozen in

Mirabaud account #509951 (defendant Mirabaud account #509951), pursuant to 18 U.S.C. §§

981(a)(1)(A) and 981(a)(1)(C), as property traceable to and/or involved in violations of 18

U.S.C. §§ 1343, 1344, 1956, and 1957.

b.     Claimant Henke Property LLC:

       Henke is the rightful owner of defendant 121 Ash Road. See Notice of Claim, ECF No.

14. Henke purchased the property in December 2010, and a Special Warranty

Deed was filed in Eagle County, Colorado, on December 28, 2010, reflecting Henke’s ownership

interests in 121 Ash Road. See id.

c.     Claimant Edge Capital Investments, Ltd.:

       Edge Capital Investments Ltd. (“Edge”) is the owner of defendant Mirabaud account

#509951. Edge disputes the funds held and frozen in defendant Mirabaud account #509951 are

property traceable to and/or involved in violations of 18 U.S.C. §§ 1343, 1344, 1956, and 1957.


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                                  4. UNDISPUTED FACTS

       The following facts are undisputed:

       1.     Venue is proper and the Court has jurisdiction pursuant to 28 U.S.C. §§ 1345 and

1355 as to Henke. Edge reserves the right to deny jurisdiction and/or venue in its Answer.

       2.     Defendant 121 Ash Road was purchased for $5,000,000.00 in December 2010.

       3.     Defendant 121 Ash Road is titled to Henke Property LLC.

       4.     Evatt Tamine is the manager of Henke Property LLC.

       5.     Evatt Tamine gave direction relating to the purchase and improvements to

defendant 121 Ash Road.

       6.     Henke Property LLC is 100% owned by Henke Holdings LLC.

       7.     Henke Property LLC and Henke Holdings LLC were formed in Colorado on

September 7, 2005.

       8.     Regency Management Ltd. is the sole director of Henke Holdings LLC.

       9.     From May 25, 2011 through August 27, 2014, there were at least 28 wire

transfers, totaling at least $10,550,000.00 from Regency Management’s Bermuda Commercial

Bank account #06-801-200717-01 to Henke Property LLC’s Wells Fargo account #9042-

018029. Improvements to defendant 121 Ash Road were paid for with these funds. Brockman

frequently used defendant 121 Ash Road during the summer.




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                       5. COMPUTATION OF DAMAGES

       a.      The relief sought by the United States is an Order of Forfeiture forfeiting

defendant 121 Ash Road and defendant Mirabaud account #509951 to the United States to be

disposed of in accordance with law.

       b.      The relief sought by Claimant Henke Property LLC is that Plaintiff take nothing

by way of its Complaint, and that Henke recover its attorneys’ fees, costs, and pre- and post-

judgment interest pursuant to applicable law (including but not limited to 28 U.S.C. § 2465), and

such other and further relief as the Court may deem just and proper.

       c.      The relief sought by Claimant Edge Capital Investments Ltd. is the government

take nothing by way of its Complaint, that Edge recover its attorneys’ fees, costs, and pre- and

post-judgment interest pursuant to applicable law (including but not limited to 28 U.S.C. §

2465), that Defendant Funds be released from seizure, that the government be ordered to request

that the Swiss authorities vacate their restraining order, and such other and further relief as the

Court may deem just and proper.

                  6. REPORT OF PRECONFERENCE DISCOVERY AND
                        MEETING UNDER FED. R. CIV. P. 26(f)

a.     Date of Rule 26(f) meeting:

       The Rule 26(f) requirements are inapplicable to this civil forfeiture action in rem arising

from a federal statute. Fed. R. Civ. P. 26(a)(1)(B)(ii). Nonetheless, the parties conferred on

January 17, 2023.

b.     Names of participants and party they represent:

       Tonya S. Andrews and Laura B. Hurd represent the United States.

       Cliff Strickland represents Claimant Henke Property LLC.

       Branden D. Lewiston represents Claimant Edge Capital Investments Ltd.

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c.      Statement as to when Rule 26(a)(1) disclosures were made or will be made:

        Rule 26(a)(1) requirements are inapplicable to this civil forfeiture in rem action arising

from a federal statute. Fed. R. Civ. P. 26(a)(1)(B)(ii).

d.      Proposed changes, if any, in timing or requirement of disclosures under Fed. R. Civ. P.

        26(a)(1):

        Rule 26(a)(1) requirements are inapplicable to this civil forfeiture in rem action arising

from a federal statute. Fed. R. Civ. P. 26(a)(1)(B)(ii).

e.      Statement concerning any agreements to conduct informal discovery:

        The United States, Claimants Henke Property LLC, and Edge Capital Investments Ltd.

have agreed to conduct some initial informal discovery. The parties remain open to conducting

informal discovery, such as joint interviews with potential witnesses.

f.      Statement concerning any other agreements or procedures to reduce discovery and other

        litigation costs, including the use of a unified exhibit numbering system:

        The parties have agreed to cooperate in order to reduce the costs of litigation and

expedite the just disposition of the case, including the use of a unified exhibit numbering system.

g.      Statement as to whether the parties anticipate that their claims or defenses will involve

        extensive electronically stored information, or that a substantial amount of disclosure or

        discovery will involve information or records maintained in electronic form:

        The parties believe there is an extensive amount of electronically stored information that

will be disclosed in this case.

        The United States has numerous documents, records, and evidence gathered as part of the

underlying investigation. The majority of such evidence has been stored electronically. The United States

is prepared to provide such electronic evidence through a thumb-drive, and/or electronic cloud system,



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such as USA fx. The parties have taken methods to preserve the electronically stored information

(ESI) related to the claims set forth in the complaint. The parties have agreed to use key word

search terms to search any large sets of ESI. The parties have agreed to produce ESI in the form

in which it is ordinarily maintained or in a reasonably usable form. The parties intend to request

metadata in relation to the creation of certain business documents and will requests this ESI be

produced as static images with an accompanying load file(s) containing relevant extracted

metadata fields. The parties will consult regarding the potential for any inaccessible ESI in this

case.

        The parties further agree to reduce duplication in production, such that any requested ESI

need not include earlier email strings encompassed in final email, attachments or documents

otherwise provided, duplicates, and attorney-client communication. The parties agree that these

types of documents need not be logged on a document-by-document basis and may be more

generally logged as a defined range of documents in the privilege log. The parties further agree

to consult regarding any discovery disputes that arise in relation to this paragraph prior to filing

discovery motions.

h.      Statement summarizing the parties’ discussions regarding the possibilities for promptly

        settling or resolving the case:

        The United States and Claimant Henke Property LLC have discussed potential settlement

and remain open to discussing the possibilities for a settlement or resolution of the case by

alternate dispute resolution. The United States and Claimant Edge Capital Investments Ltd. have

engaged in initial settlement discussions and also remain open to discussing the possibilities for

settlement or resolution of the case by alternative dispute resolution.

                                           7. CONSENT



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        All parties have consented to the exercise of jurisdiction of a magistrate judge.

                                  8. DISCOVERY LIMITATIONS

a.      Modifications which any party proposes to the presumptive numbers of depositions or

        interrogatories contained in the Federal Rules:

        The parties agree to 15 depositions per party. The parties are amenable to additional depositions

upon showing of good cause. The parties agree that each party may serve on each other party 25

interrogatories.

b.      Limitations which any party proposes on the length of depositions:

        Each deposition will be limited to one day of seven (7) hours.

c.      Limitations which any party proposes on the number of requests for production of

        documents and/or requests for admissions:

        The parties agree that each party may serve 25 requests for production of documents and

25 requests for admission on each other party.

d.       Deadline for service of Interrogatories, Requests for Production of Documents and/or

        Admissions:

        Written discovery shall be served at least 35 days prior to close of discovery.

e.      Other Planning or Discovery Orders:

        The parties further agree to the entry of a Fed. R. Evid. 502 Order and protective order regarding

documents disclosed during discovery and non-disclosure to third parties.

        Before filing a motion for an order relating to a discovery dispute, the movant must request a

conference with the Court by submitting an email, copied to all parties, to

hegarty_chambers@cod.uscourts.gov. See Fed. R. Civ. P. 16, cmt. 2015 Amend. The Court will

determine at the conference whether to grant the movant leave to file the motion.



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                                 9. CASE PLAN AND SCHEDULE

a.       Deadline for Joinder of Parties and Amendment of Pleadings: May 3, 2023

b.       Fact Discovery Cut-off: July 31, 2023.

c.       Expert Discovery Cut-off: November 30, 2023

d.       Dispositive Motions Deadline: December 1, 2023

e.       Expert Witness Disclosure

          1.    The parties shall identify anticipated fields of expert testimony, if any.

                a)      United States: Money Laundering techniques, financial expert, forensic

                        accounting, organizational structures.

                b)      Claimant Henke LLC: Forensic accountant, financial expert.

                c)      Edge Capital Investments Ltd.: Forensic accountant, financial expert.

         2.     Limitations which the parties propose on the use or number of expert witnesses.

                The parties agree on two experts per party without leave of court.

         3.     The parties shall designate all experts and provide opposing counsel and any pro se

                parties with all information specified in Fed. R. Civ. P. 26(a)(2) on or before September

                29, 2023.

         4.     The parties shall designate all rebuttal experts and provide opposing counsel and any pro

                se party with all information specified in Fed. R. Civ. P. 26(a)(2) on or before October

                30, 2023.

f.       Identification of Persons to be Deposed:

                 Person to be Deposed                          Date of           Time of     Length of
                                                              Deposition        Deposition   Deposition
     Carl Linnecke                                              TBD               TBD          TBD
     Henke Property LLC Representative                          TBD               TBD          TBD
     Henke Holdings LLC Representative                          TBD               TBD          TBD
     Regency Management Ltd. Representative

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     Edge Capital Investments Ltd Representative                                           Per FRCP
                                                                                               30
     Evatt Tamine                                                                          Per FRCP
                                                                                               30
     Michael Henry, Managing Director- Deutsche                TBD             TBD         Per FRCP
     Bank                                                                                      30
     Other employees of Deutsche Bank                          TBD             TBD         Per FRCP
                                                                                               30
     IRS Agents                                                TBD             TBD         Per FRCP
                                                                                               30
     Employees of Reynolds & Reynolds                          TBD             TBD         Per FRCP
                                                                                               30
     Robert Smith                                              TBD             TBD         Per FRCP
                                                                                               30
     Representatives of Bermuda Commercial Bank                TBD             TBD         Per FRCP
                                                                                               30
     Representatives of Mirabaud                               TBD             TBD         Per FRCP
                                                                                               30
     Representatives involved in the purchase of 121           TBD             TBD         Per FRCP
     Ash Road                                                                                  30


                          10. DATES FOR FURTHER CONFERENCES

a.        Status conferences will be held in this case at the following dates and times:

b.        A final pretrial conference will be held in this case on a date to be set upon request of

          the parties. A Final Pretrial Order shall be prepared by the parties and submitted to the

          court no later than seven (7) days before the final pretrial conference.

                              11. OTHER SCHEDULING MATTERS

a.        A statement of those discovery or scheduling issues, if any, on which counsel after a

          good-faith effort, were unable to reach an agreement:

          None.

b.        Anticipated length of trial and whether trial is to the court or jury:

          United States: Three-week trial to a jury. Henke: Henke believes a 5-day jury trial is

sufficient. Edge Capital Investments Ltd: Edge anticipates two-to-three week trial.


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 c.        Identify pretrial proceedings, if any, that the parties believe may be more efficiently or

           economically conducted in the District Court’s facilities at 212 N. Wahsatch Street,

           Colorado Springs, Colorado 80903-3476; Wayne Aspinall U.S. Courthouse/Federal

           Building, 402 Rood Avenue, Grand Junction, Colorado 81501-2520; or the U.S.

           Courthouse/Federal Building, LaPlata County Courthouse 1060 E. 2nd Avenue, Suite

           150, Durango Colorado 81301:

           None.

                       12. NOTICE TO COUNSEL AND PRO SE PARTIES

           The parties filing motions for extension of time or continuances must comply with

 D.C.COLO.LCivR 6.1(c) by serving the motion contemporaneously upon the moving attorney's

 client.

           Counsel will be expected to be familiar and to comply with the Pretrial and Trial

 Procedures or Practice Standards established by the judicial officer presiding over the trial of this

 case.

           With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1(a).

           Counsel and unrepresented parties are reminded that any change of contact information

 must be reported and filed with the Court pursuant to the applicable local rule.

                         13. AMENDMENTS TO SCHEDULING ORDER

           The Scheduling Order may be altered or amended upon a showing of good cause.

           Entered January 30, 2023, at Denver, Colorado.

                                                         BY THE COURT:



                                                         Michael E. Hegarty
                                                         United States Magistrate Judge


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 APPROVED:

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